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                                 Exhibit


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      REQUESTED BY:            MORRISEY, DEBORAH
                                      O F F I C I A L . USE                        O N L Y
            DEPARTMENT OF HOMELAND SECURITY                                         TECS ACCESS CODE 3
                           ICE
                                                                                    PAGE        1
  R E P O R T            OF      I N V E S T I G A T I O N
                                                                                    CASE NUMBER MI02PR07MI0018


    TITLE: TEODORO NGUEMA OBIANG

    CASE STATUS:               INTERIM RPT

    REPORT DATE                     DATE ASSIGNED                      PROGRAM CODE                       REPORT NO.
      042808                            111506                             YA1                               026

      RELATED CASE NUMBERS:


      COLLATERAL REQ:


      TYPE OF REPORT:
     INVESTIGATIVE FINDINGS


TOPIC: ANALYSIS OF MICHAEL BERGER CITIBANK ACCOUNTS.

        SYNOPSIS:
The U.S. I m m i g r a t i o n a n d Customs Enforcement ( I C E ) , S p e c i a l Agent i n Charge,
Miami, F l o r i d a (SAC/Miami), F o r e i g n C o r r u p t i o n I n v e s t i g a t i o n s Group i s
c o n d u c t i n g an i n v e s t i g a t i o n p e r t a i n i n g t o t h e f i n a n c i a l a c t i v i t i e s o f Teodoro
Nguema OBIANG ^ I M M M i l M M H ^ ) a.k.a. " T e o d o r i n " . I t i s a l l e g e d t h a t OBIANG
i s u s i n g proceeds o f f o r e i g n p u b l i c c o r r u p t i o n t o a c q u i r e h i g h v a l u e d assets
w i t h i n t h e U n i t e d S t a t e s . ICE SAC/Miami a g e n t s a r e c u r r e n t l y a t t e m p t i n g t o
i d e n t i f y a n y c r i m i n a l v i o l a t i o n s and a s s e t s r e l a t e d t o OBIANG and h i s
associates.
The f o l l o w i n g r e p o r t o f i n v e s t i g a t i o n w i l l document i n f o r m a t i o n p r o v i d e d b y
C i t i b a n k N.A. r e l a t e d t o M i c h a e l J a y BERGER ( a t t o r n e y f o r Teodoro OBIANG) and
Teodoro OBIANG.




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 CASE PROGRAM CODES:

 YA1 F i n a n c i a l O t h e r / C o r n    7H0 FOREIGN CORRUPTION




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DETAILS OF INVESTIGATION:

M i c h a e l J a y BERGER (DOB:flMMMMRP)i s c u r r e n t l y employed as an a t t o r n e y f o r
T e o d o r o OBIANG i n t h e U n i t e d S t a t e s . I n t e r n e t r e c o r d s r e v e a l t h a t BERGER owns
a l a w f i r m l o c a t e d a t 9454 W i l s h i r e B l v d , 6 t h F l o o r , B e v e r l y H i l l s ,
C a l i f o r n i a , 90212 and s p e c i a l i z e s i n b a n k r u p t c y law. BERGER i s r e g i s t e r e d w i t h
t h e C a l i f o r n i a S t a t e Bar (Bar # 100291) and was a d m i t t e d t o t h e C a l i f o r n i a B a r
o n December 1 , 1 9 8 1 .

Bank r e c o r d s r e c e i v e d f r o m C i t i b a n k N.A. r e f l e c t t h a t BERGER . c u r r e n t l y h a s
t h r e e a c c o u n t s a t C i t i b a n k i d e n t i f i e d as f o l l o w s :

*    U n l i m i t e d H o r i z o n , I n c . (CB S t r e a m l i n e d C h e c k i n g a c c o u n t
*    C l i e n t T r u s t a c c o u n t ( i n t h e name o f Law O f f i c e s o f M i c h a e l BERGER a c c o u n t
     # 202018875)
*    M i c h a e l B e r g e r c h e c k i n g a c c o u n t (EZ C h e c k i n g a c c o u n t #


U n l i m i t e d Horizon,      I n c . account #

The " C i t i b u s i n e s s Account Agreement" used t o e s t a b l i s h t h i s a c c o u n t r e f l e c t s
t h a t i t was opened on June 25, 2007 w i t h a check f o r $5,000 (Check #2644) f r o m
t h e Bank o f A m e r i c a c l i e n t t r u s t a c c o u n t i d e n t i f i e d above. B e r g e r i s
i d e n t i f i e d as t h e s o l e s i g n e r on t h i s a c c o u n t , ( p r o v i d e d C a l i f o r n i a d r i v e r ' s
                                                                                                     a   s
l i c e n s e #N557478.8 and V i s a C r e d i t c a r d # ^ H M m V i
identification).                  The agreement f u r t h e r i d e n t i f i e s t h e b u s i n e s s e n t i t y as an
" S - C o r p o r a t i o n " l o c a t e d a t 9454 W i l s h i r e B l v d , S u i t e 625, B e v e r l y H i l l s , CA
9 0212, r e f l e c t i n g an a n n u a l s a l e s o f $400,000 a n d an i n c o r p o r a t i o n d a t e o f
10/27/2005.

The " C i t i b u s i n e s s D e p o s i t Account A p p l i c a t i o n " i d e n t i f i e s B e r g e r as t h e s o l e
employee, p r o v i d i n g " L e g a l / A c c o u n t i n g S e r v i c e " w i t h a n a n n u a l N e t P r o f i t o f
$100,000 a n d l i s t s t h e company's m a i n s u p p l i e r s as " B e v e r l y W i l s h i r e
I n v e s t m e n t Company (Phone # 310-274-9826) and "Georgeann N i c o l " (Phone #
323-839-1568).
The f o l l o w i n g s u s p i c i o u s w i r e t r a n s f e r d e p o s i t s were p r e v i o u s l y i d e n t i f i e d
( r e f e r t o ROI#025) as r e c e i v e d i n t o M i c h a e l BERGER's c l i e n t t r u s t a c c o u n t h e l d
a t Bank o f A m e r i c a ( a c c o u n t |0pHVHMBk) and a r e s u s p e c t e d o f o r i g i n a t i n g
f r o m Teodoro OBIANG:

7/26/07                     W i r e T r a n s f e r Deposit$199,948 . 82
NOTE: W i r e t r a n s f e r r e c o r d s r e f l e c t t h a t t h i s t r a n s a c t i o n o r i g i n a t e d f r o m
"CCEI Bank GE", C a l l e P r e s i d e n t e Nasser, Malabo EG f r o m an o r i g i n a t o r
i d e n t i f i e d as "Socage", Bata, EG. A c c o r d i n g t o Bank o f A m e r i c a
r e p r e s e n t a t i v e s , Socage i s t h e name o f t h e a c c o u n t h o l d e r and r e f e r e n c e number
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                                                                                                                D O J 0000291
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                C O N T I N U A T I O N                                               REPORT NUMBER: 026
i                                                                                                                        — — —
i d e n t i f i e d as H01707266115001, may r e f e r t o t h e a c c o u n t number f u n d s were
located in. .
8/16/07              W i r e T r a n s f e r Deposit$199,933.45
NOTE: W i r e t r a n s f e r r e c o r d s r e f l e c t t h a t t h i s t r a n s a c t i o n a l s o o r i g i n a t e d
f r o m B a t a , EG a n d r e f e r e n c e d "Somagui" a l o n g w i t h t h e number 0018285100186
under t h e o r i g i n a t o r f i l e d .

I t i s b e l i e v e d t h a t f r o m June 2007 t h r o u g h August 2007, BERGER u t i l i z e d t h i s
a c c o u n t t o r e c e i v e w i r e t r a n s f e r s f r o m OBIANG and p a y f o r p e r s o n a l expenses
a c c r u e d b y OBIANG i n t h e U n i t e d S t a t e s . I t i s f u r t h e r s u s p e c t e d t h a t BERGER
u t i l i z e d t h i s a c c o u n t t o s t a r t u p UNLIMITED HORIZON INC, (UHI) a t C i t i b a n k N.A.
P r i o r r e p o r t s o f i n v e s t i g a t i o n document t h e s u s p i c i o u s a c t i v i t i e s o f UHI,
w h i c h i s a s u s p e c t e d s h e l l c o r p o r a t i o n , c r e a t e d b y BERGER f o r OBIANG. D u r i n g
t h i s t i m e , t h e f o l l o w i n g t r a n s a c t i o n s were c o m p l e t e d i n c o n n e c t i o n w i t h
UNLIMITED HORIZON. INC, t h r o u g h t h e Bank o f A m e r i c a a t t o r n e y c l i e n t t r u s t
a c c o u n t # 11

6/22/07                 Check # 2644$5,000
NOTE: P a i d t o t h e o r d e r o f " U n l i m i t e d H o r i z o n , I n c . " Check memo s e c t i o n has
h a n d w r i t t e n n o t a t i o n "Open a c c o u n t @ C i t i b a n k . " A d d i t i o n a l l y ,
t h e b a c k o f t h e p a i d bank check r e f l e c t s t h a t on 6/25/07 @ 1653 h o u r s , t h i s
c h e c k was d e p o s i t e d i n t o a c c o u n t

6/27/07           Check # 2657$25,000
NOTE: P a i d t o t h e o r d e r o f "Cash." Memo s e c t i o n r e f l e c t s "UHI."

7/10/07               Check # 2701$100,000
NOTE: P a i d t o t h e o r d e r o f "Cash." Memo s e c t i o n r e f l e c t s f o r : " C a s h i e r ' s Check
U n l i m i t e d Horizon, I n c . "

7/20/07           Check # 2681$8,727.55
NOTE: P a i d t o t h e o r d e r o f "Cash." Memo s e c t i o n r e f l e c t s f o r : " C a s h i e r ' s              Check
f o r Unlimited Horizon."

7/26/07            Check # 2682$199,948.82
NOTE: P a i d t o t h e o r d e r o f "Cash." Memo s e c t i o n r e f l e c t s f o r : " f o r c a s h i e r ' s
check f o r c l i e n t . "

8/16/07                 Check # 2723$199,908.45
NOTE: P a i d t o t h e o r d e r o f "Cash." Memo s e c t i o n r e f l e c t s f o r : " U n l i m i t e d
H o r i z o n , I n c . c a s h i e r ' s check."'
A d d i t i o n a l l y , t h e review of the below noted Cashier's                       Checks r e f l e c t e d t h e
following:

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6/27/07              C a s h i e r ' s Check # 2024379061$25,000
NOTE: P a i d t o t h e o r d e r o f " U n l i m i t e d H o r i z o n , I n c , " "Purchaser: M i c h a e l
Berger."         The b a c k o f t h e cashed check r e f l e c t s t h a t o n 6/28/07 § 1634 h o u r s ,
t h i s c h e c k was d e p o s i t e d i n t o a c c o u n t < M ^ f c 8 8 6 7 .

7/10/07              C a s h i e r ' s Check # 2024379301$100,000
NOTE: P a i d t o t h e o r d e r o f " U n l i m i t e d H o r i z o n , I n c , " "Purchaser: M i c h a e l
Berger."         The b a c k o f t h e cashed c h e c k r e f l e c t s t h a t o n 7/10/07 @ 1700 h o u r s ,
t h i s c h e c k was d e p o s i t e d i n t o a c c o u n t (fH^H§8867 .

7/20/07             = C a s h i e r ' s Check # 2024379499$8,727.55
NOTE: P a i d t o t h e o r d e r o f " U n l i m i t e d H o r i z o n , I n c , " "Purchaser: M i c h a e l J a y
Berger."         The b a c k o f t h e cashed check r e f l e c t s t h a t o n 7/20/07 § 1757 h o u r s ,
t h i s c h e c k was d e p o s i t e d i n t o a c c o u n t HH^8867.

7/27/07                  C a s h i e r ' s ' Check # 2024379602$199,948.82
NOTE: P a i d t o t h e o r d e r o f " U n l i m i t e d H o r i z o n , I n c " a n d h a v i n g t h e name
M i c h a e l B e r g e r p r i n t e d below as i n t h e o t h e r f o u r c a s h i e r ' s checks n o t e d ,
w i t h o u t t h e w o r d "Purchaser" p r i n t e d i n t h i s p a r t i c u l a r i n s t a n c e as i n t h e
o t h e r n o t e d checks.            The back o f ' t h e cashed check r e f l e c t s t h a t on 7/27/07 &
1232 h o u r s , t h i s c h e c k was d e p o s i t e d i n t o a c c o u n t | M ^ ^ 8 ' 6 7 .

8/16/07              C a s h i e r ' s Check # 2024379602$199,908.45
NOTE: P a i d t o t h e o r d e r o f " U n l i m i t e d H o r i z o n , I n c , " " P u r c h a s e r : Law O f f i c e s
o f M i c h a e l J. B e r g e r . "   The back o f t h e cashed check r e f l e c t s t h a t o n 8/17/07
@ 1023 h o u r s , t h i s check was d e p o s i t e d i n t o a c c o u n t " ^ 1 1 ^ 8 8 6 7 .

I n a d d i t i o n t o t h e above n o t e d t r a n s a c t i o n s , C i t i b a n k bank r e c o r d s r e f l e c t t h e
f o l l o w i n g t r a n s a c t i o n s a s s o c i a t e d w i t h t h e U n l i m i t e d H o r i z o n account ( C i t i b a n k
a c c o u n t # 202018867):

9/11/07           C a h i e r ' s Check # 401207181$199,934.10
NOTE: P a i d t o t h e o r d e r o f " U n l i m i t e d H o r i z o n , I n c , " " P u r c h a s e r : Law O f f i c e s
o f Michael J. Berger."            The back o f t h e cashed check r e f l e c t s t h a t o n 9/11/07
@ 1706 h o u r s , t h i s c h e c k was d e p o s i t e d i n t o a c c o u n t d ^ § 8 8 6 7 .

10/12/07 .               C a h i e r ' s Check # 419262131$199, 896 .'82
NOTE: P a i d t o t h e o r d e r o f " U n l i m i t e d H o r i z o n , I n c , " "Purchaser: M i c h a e l J a y
Berger."          Bank r e c o r d s i n d i c a t e t h a t o n 10/12/07 @ 1753 h o u r s , t h i s check was
d e p o s i t e d i n t o account ^ H | 0 8 8 6 7 .

11/9/07                   C a h i e r ' s Check # 419262439$169,143.26
NOTE: P a i d t o t h e o r d e r o f " U n l i m i t e d H o r i z o n I n c , " " P u r c h a s e r : M i c h a e l Berger
T r u s t A c c o u n t . " Bank r e c o r d s i n d i c a t e t h a t o n 11/09/07 @ 1804 h o u r s , t h i s

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                                             O F F I C I A L . U S E                 O N L Y

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check was d e p o s i t e d i n t o      a c c o u n t 4H^HL8867.
12/14/07                 C a h i e r ' s Check # 4l9262724$230,687.84
NOTE: P a i d t o t h e o r d e r o f " U n l i m i t e d H o r i z o n I n c , " "Purchaser: M i c h a e l J a y
B e r g e r . " Bank r e c o r d s i n d i c a t e t h a t on 12-/.14/07 @ 1755 h o u r s , t h i s check was
d e p o s i t e d i n t o account ^ ^ ^ 0 8 8 6 7 .

BERGER t r a n s f e r r e d a t o t a l o f $1,333,246.84 t o t h e U n l i m i t e d H o r i z o n a c c o u n t
f r o m t h e Bank o f A m e r i c a c l i e n t t r u s t a c c o u n t v i a t h e above n o t e d c a s h i e r ' s
c h e c k s . Checks drawn on t h i s a c c o u n t i n d i c a t e t h a t B e r g e r used f u n d s f r o m
t h i s a c c o u n t t o p a y f o r OBIANG r e l a t e d expenses ( i . e . M a l i b u r e s i d e n c e , •
s e c u r i t y d e t a i l s , a t t o r n e y f e e s , e t c . ) as i n d i c a t e d i n t h e memo f i e l d o f
n u m e r o u s / r e o c c u r r i n g checks n o t i n g Sweetwater M a l i b u a n d / o r Teodoro OBIANG.

Law O f f i c e s o f M i c h a e l B e r g e r A t t o r n e y T r u s t a c c o u n t ^ | H t - 8 8 7 5

The " C i t i E s c r o w C o n t r o l A c c o u n t A p p l i c a t i o n " i d e n t i f i e s B e r g e r as p r e s i d e n t
and s o l e s i g n e r on t h i s a c c o u n t . The b u s i n e s s i s d e s c r i b e d as "Legal
S e r v i c e s " , l i s t s t h r e e employees w i t h an a n n u a l s a l e s o f $480,000 and $120,000
in netprofits.                B u s i n e s s i s r e c o r d e d as b e i n g e s t a b l i s h e d s i n c e August 1 ,
1985. A c c o u n t r e f l e c t s t h a t i t was opened on June 26, 2007 w i t h a $1,000
c h e c k (#2630) f r o m t h e Bank o f America c l i e n t t r u s t a c c o u n t i d e n t i f i e d above
(account # ^ p g | Q 9 6 0 3 ) .

NOTE: S e v e r a l checks were made f r o m t h i s _ a c c o u n t i n t o M i c h a e l BERGER's
p e r s o n a l C i t i b a n k EZ C h e c k i n g Account i | ^ m ^ | 3 872 between September 1 1 , 2007
and March 19, 2008 t o t a l i n g a p p r o x i m a t e l y $507,000.

M i c h a e l B e r g e r EZ C h e c k i n g account # | p ^ Q ^ 3 8 7 2

The "EZ C h e c k i n g " s i g n a t u r e c a r d i d e n t i f i e s M i c h a e l J . BERGER (Tax
I D # € ^ B ^ B - 8 7 5 0 ) as t h e s o l e s i g n a t o r on t h e a c c o u n t . The a c c o u n t was opened
on September 1 1 , 2007 a n d i d e n t i f i e s BERGER's address as 7566 M u l h o l l a n d
D r i v e , Los A n g e l e s , CA 90046.

NOTE: Bank r e c o r d s i d e n t i f i e d a w i r e t r a n s f e r f r o m M i c h a e l B e r g e r ' s EZ
C h e c k i n g a c c o u n t on March 20, 2008 i n t h e amount o f $293,155.28 t o W a s h i n g t o n
M u t u a l bank a c c o u n t ^IHH01375 ( r e c e i v e d on March 2 1 , 2008) . T h i s a c c o u n t
i n f o r m a t i o n a l s o r e f l e c t s a C i t i b a n k " O f f i c i a l Check" (Check #310238361) d a t e d
March 19, 2008 i n t h e amount o f $293, 053.24 made o u t t o W a s h i n g t o n M u t u a l f o r
                                                        8 8 6 2
" P a y o f f o f WAMU Home Loan # | ^ H l                      -"
A d d i t i o n a l l y , Citibank i d e n t i f i e d a wire transfer w i t h Global
ID#S0771000889401 made i n t h e name o f "Teodoro Obiang B i b a n g " on A p r i l 10,
2007 i n t h e amount o f $1,173.29. The w i r e t r a n s f e r i d e n t i f i e s t h e • f o l l o w i n g

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                               ICE
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     R E P O R T   OF      I N V E S T I G A T I O N
                C O N T I N U A T I O N                                 REPORT NUMBER: 026

information:

Sender R e f e r e n c e : 2007041000073018
Originator:
I D : X. 0003644100330
Name: GEPETROL
A d d r e s s : C/3 A g o s t o
                   M a l a b o / E q u a t o r i a l Guinea
O r i g i n a t o r Bank:
I D : S RUBBFRPP
Name: SRUBBFRPP

DEBITED PARTY:
I D : D 10950886
Name: FORTIS BANK
Address: FORMERLY GENERALE BANK
            MONTAGNE DU PARC 3
            "B 1000 BRUSSELS, BELGIUM


Beneficiary:
I D : X 004805000475521
Name: TEODORO OBIANG BIBANG .
A d d r e s s : South ' A f r i c a

B e n e f i c i a r y . Bank:
I D : D 36047847
Name: THE STANDRAD BANK OF SOUTH AFRICA
A d d r e s s : P.O.. Box 8288
                     J o h a n n e s b u r g 2000
                   South A f r i c a
            •

This i n v e s t i g a t i o n continues.




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